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No. 22-3237         UNITED STATES COURT OF APPEALS
                        FOR THE SECOND CIRCUIT
                               __________________________

            MICHEAL SPENCER, HIS TABERNACLE FAMILY CHURCH, INC.,
                                                     Plaintiffs-Appellees,
                                           v.
 STEVEN A. NIGRELLI, Acting Superintendent of the New York State Police, in his
                          official and individual capacities,
                                                     Defendant-Appellants,
 WEEDEN A. WETMORE, District Attorney for the County of Chemung, New York,
in his official and individual capacities, MATTHEW VAN HOUTEN, District Attorney
 for the County of Tompkins, New York, in his official and individual capacities,
                           EVERYTOWN FOR GUN SAFETY,
                                                     Defendants.
                                 ________________
             On Appeal from the United States District Court for the
                Western District of New York, No. 22-cv-6486
                                ________________________

                    BRIEF FOR PLAINTIFFS-APPELLEES
                               _________________________

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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1(a), His Tabernacle

Family Church, Inc., certifies that it does not have a parent corporation and that no

publicly held corporation owns more than ten percent of its stock. Pastor Micheal

Spencer is an individual.




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                                INTRODUCTION

      This case concerns a New York firearms law that defies multiple Supreme

Court precedents. In 2020, the Supreme Court admonished New York that it could

not single out places of worship for especially harsh treatment relative to comparable

secular establishments. See Roman Catholic Diocese of Brooklyn v. Cuomo, 141

S.Ct. 63 (2020) (per curiam). And in 2022, the Supreme Court admonished New

York that it could not prohibit law-abiding citizens from carrying firearms in public

for self-defense unless that prohibition accords with historical tradition. See N.Y.

State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S.Ct. 2111 (2022). Remarkably, those

admonitions had the exact opposite of their intended effect. Just days after Bruen,

the state rushed out a sweeping new set of restrictions on carrying firearms outside

the home in a law known as the “Concealed Carry Improvement Act” (CCIA). As

relevant here, the CCIA flatly bans carrying firearms in places of worship—even

though proprietors of comparable secular establishments may authorize the carrying

of firearms on their property as they wish.

      Pastor Micheal Spencer is the pastor at His Tabernacle Family Church, which

has two campuses in New York. Pastor Spencer sincerely believes that he has a

religious duty to protect his congregants’ safety, and for years, he has acted in

accordance with that belief by carrying firearms on Church premises and by

permitting other congregants to do the same. Accordingly, soon after the CCIA took
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effect, Pastor Spencer and the Church filed suit to challenge the place-of-worship

provision and sought a preliminary injunction, alleging that the place-of-worship

provision violates the Free Exercise and Establishment Clauses of the First

Amendment, as well as the Second Amendment.

      The district court correctly granted that relief. As the court recognized, the

Free Exercise Clause prohibits laws that treat places of worship less favorably than

even one comparable secular establishment unless the state can satisfy strict scrutiny,

and the CCIA’s place-of-worship provision plainly discriminates in that manner and

is not the rara avis that satisfies that exceedingly demanding test. Furthermore, the

Religion Clauses preclude state interference in core matters of church governance,

yet the place-of-worship provision declares that places of worship may welcome

congregants into their sacred spaces only in a state-approved manner. In addition,

the Second Amendment’s plain text presumptively protects carrying firearms

outside the home, and aside from a few outlier laws enacted a century or more after

the Nation’s founding, there is no historical precedent for the place-of-worship

provision.     Plaintiffs are thus exceedingly likely to succeed on all of their

constitutional claims.      And given that the place-of-worship provision is

unconstitutional thrice over, the irreparable harm to Pastor Spencer and the Church

is palpable, and the public interest in enjoining the place-of-worship provision is

undeniable.



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      The state offers no cogent reason to disturb the district court’s decision.

Indeed, the state does not even cite the Supreme Court’s decision in Roman Catholic

Diocese, much less explain how the place-of-worship provision could survive its

clear teachings; it repeatedly second-guesses Pastor Spencer’s sincere religious

beliefs, even as it concedes that they are not in dispute; and it resuscitates a bevy of

arguments that Bruen already rejected.         The state does not disagree that the

remaining preliminary-injunction factors are satisfied if Pastor Spencer and the

Church are likely to succeed on the merits. Because the state has no chance of

prevailing on the merits, the path forward here is clear: affirmance.

                                  JURISDICTION

      Pastor Spencer and the Church agree with the state’s jurisdictional statement.

                          STATEMENT OF THE ISSUE

      Whether the district court abused its discretion in preliminarily enjoining the

CCIA’s place-of-worship provision.

                   STATEMENT OF THE CASE AND FACTS

      A.     Legal Background

      1.     Before the founding of our Nation, “England suffered from chronic

religious strife and intolerance.”     Michael W. McConnell, The Origins and

Historical Understanding of Free Exercise of Religion, 103 Harv. L. Rev. 1409,

1421 (1990). English subjects lived under “the control of the national church” and

lacked the freedom to practice their “own modes of worship.” Hosanna-Tabor

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Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171, 182 (2012).

Moreover, Parliament prohibited subjects from exercising certain fundamental

rights—including the right to bear arms—on religiously discriminatory grounds.

See Bruen, 142 S.Ct. at 2142.

      The Framers of the Constitution set out to provide more robust protection for

religious liberty and self-defense. See, e.g., S. Rep. 103-111 at 4 (1993); David B.

Kopel & Joseph G.S. Greenlee, The “Sensitive Places” Doctrine: Locational Limits

on the Right to Bear Arms, 13 Charleston L. Rev. 205, 230 (2018). To that end, the

First Amendment provides that “Congress shall make no law respecting an

establishment of religion, or prohibiting the free exercise thereof.” U.S. Const.

amend. I. Those twin protections prohibit the government from “impos[ing] special

disabilities on the basis of … religious status,” Church of the Lukumi Babalu Aye,

Inc. v. City of Hialeah, 508 U.S. 520, 533 (1993), and secure a “broad” right for

churches “to decide for themselves, free from state interference, matters of church

government as well as those of faith and doctrine,” Our Lady of Guadalupe Sch. v.

Morrissey-Berru, 140 S.Ct. 2049, 2055 (2020). The Second Amendment, in turn,

guarantees the “right of the people to keep and bear Arms, shall not be infringed,”

U.S. Const. amend. II, thus protecting an individual right to keep and bear arms for

the core purpose of self-defense. See District of Columbia v. Heller, 554 U.S. 570,

592, 595, 630 (2008); McDonald v. City of Chicago, 561 U.S. 742 (2010).



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      2.     Unfortunately, some states have struggled to live up to these

constitutional ideals. And in recent years, few states have flouted their First and

Second Amendment obligations as audaciously as New York. Early in the COVID-

19 pandemic, for example, state officials targeted religious communities for special

burdens that did not apply to comparable establishments. Worse, those burdens

struck at the heart of religious organizations’ internal decision-making: how to

conduct worship in their own sacred spaces.

      Among other restrictions, then-Governor Cuomo issued an executive order

establishing a color-coded system imposing capacity restrictions at places of

worship. See Roman Catholic Diocese, 141 S.Ct. at 65-66. In “red zones,” the state

prohibited places of worship from welcoming more than 10 people at any time; in

“orange zones,” the state set the limit at 25 people. Id. at 66. In either scenario, the

restriction applied without regard to the size of a religious community’s facilities

and no matter the precautions it undertook to assure congregant safety. Meanwhile,

“essential” services in the very same “zones” did not have to comply with any

capacity restrictions at all. Id. And while “essential” services spanned everything

from liquor stores to acupuncturists, the state took the stunning position that

religious worship is not “essential.” Id. at 66-67; id. at 69 (Gorsuch, J., concurring).

      After Catholic and Jewish groups challenged those regulations under the First

Amendment, the Supreme Court readily concluded—in the emergency posture of an



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application for an injunction pending appeal—that New York’s edict likely violated

the irreducible “minimum” of the First Amendment: The government may not

“single out houses of worship for especially harsh treatment.” Id. at 66. Because

the “disparate treatment” between worship and those activities deemed “essential”

rendered the restrictions neither neutral nor generally applicable, they triggered strict

scrutiny. Id. at 66-67. And the Court found it “hard to see” how New York’s

restrictions could be “narrowly tailored” when there was no evidence that places of

worship posed a unique risk of spreading COVID-19, let alone that less restrictive

alternatives could not sufficiently address any risk that might exist. Id. at 67.

      Not long after the Supreme Court instructed New York to comply with the

First Amendment, it did the same with respect to the Second Amendment. While

Heller and McDonald made clear that the Second Amendment guarantees an

individual right to keep and bear arms for self-defense that is protected against

infringement by the states, the state nevertheless continued to deprive law-abiding

citizens of any avenue to bear arms for self-defense outside the home by making it

nearly impossible to obtain the license that state law required to do so. See Bruen,

142 S.Ct. at 2122. Specifically, to obtain a license and thereby avoid criminal

punishment just for exercising a constitutional right, a law-abiding citizen had to

“demonstrate a special need for self-protection distinguishable from that of the

general community.” Id. at 2123 (emphasis added).



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      The Supreme Court dispatched that argument in Bruen, confirming that the

right “to keep and bear Arms” means just that—the right to keep and bear arms,

whether inside or outside the home. Id. at 2134-35. The Court reiterated, moreover,

that this is no “second-class right” subject to a unique set of rules or available to only

those with “some special need” to exercise it. Id. at 2156. The Court also made

clear that, when evaluating government burdens on the Second Amendment’s

“unqualified command,” courts must assess “this Nation’s historical tradition” of

firearms regulation; “the government may not simply posit that the regulation

promotes an important interest” and call it a day. Id. at 2125-34. Only if the state

can “affirmatively prove that its firearm regulation is part of the historical tradition

that delimits the outer bounds of the right to keep and bear arms” may a court uphold

a restriction on that right. Id. at 2127. Applying that test, the Court invalidated New

York’s special-need restriction. Id. at 2134-56.

      In the course of elaborating on how the historical burden-shifting regime it

established worked, the Court observed that laws forbidding the carrying of firearms

in certain “sensitive places” may accord with historical tradition, although it noted

that “the historical record yields relatively few 18th- and 19th-century ‘sensitive

places’ where weapons were altogether prohibited—e.g., legislative assemblies,

polling places, and courthouses.” Id. at 2133. And the Court explicitly rejected New

York’s attempt to justify its special-need restriction as a “sensitive place” law,



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stating that “expanding the category of ‘sensitive places’ simply to all places of

public congregation that are not isolated from law enforcement defines the category

of ‘sensitive places’ far too broadly” and has “no historical basis.” Id. at 2133-34.

      3.     With the ink on Bruen still drying, New York embarked on a campaign

“to offset the impact of the court’s decision”—and trample First Amendment rights

to boot. Giavanni Alves, N.Y.’s New Gun Control Laws, Staten Island Live (July 9,

2022), https://archive.ph/7by4T. In July 2022—just eight days after the Supreme

Court issued Bruen—New York enacted the CCIA, which imposes far-reaching new

restrictions on where law-abiding citizens may carry firearms by designating large

swathes of the state “sensitive places.” According to its chief proponents, the CCIA

furthers the state’s interest in “combat[ting] … gun violence.” Gov. Kathy Hochul,

N.Y. State, Governor Hochul Signs Landmark Legislation to Strengthen Gun Laws

and Bolster Restrictions on Concealed Carry Weapons in Response to Reckless

Supreme Court Decision (July 1, 2022), https://on.ny.gov/3E1Uuat; see

D.Ct.Dkt.13-3 at 9 n.5.

      As relevant here, one of the “sensitive locations” where firearms are now

flatly prohibited is “any place of worship or religious observation.” Hence, New

York law now provides:

      A person is guilty of criminal possession of a firearm, rifle or shotgun
      in a sensitive location when such person possesses a firearm, rifle or
      shotgun in or upon a sensitive location, and such person knows or
      reasonably should know such location is a sensitive location. For the

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      purposes of this section, a sensitive location shall mean … any place of
      worship or religious observation[.]

N.Y. Penal Law §265.01-e(1), (2)(c). But although the CCIA defines “sensitive

location” to include certain other areas—e.g., government buildings and polling

places, see id. §265.01-e(2)(a), (q)—it creates a wide exception for private property,

provided that it has no religious affiliation. While firearms are presumptively

prohibited on private property, owners or lessees of private property are free to

override that presumption by posting “clear and conspicuous signage” or “otherwise

giv[ing] express consent” to carry firearms on their property. Id. §265.01-d(1).

      Severe penalties await those who violate the sensitive-place provision,

including the place-of-worship provision. Possession of a firearm in any “sensitive

location” is a Class E felony if one “knows or reasonably should know such location

is a sensitive location.” Id. §265.01-e. Thus, it is now a felony in New York to carry

a firearm in a place of worship, regardless whether one has a license to carry a

firearm and regardless whether the place of worship expressly authorizes carrying

firearms on its property. That otherwise-blanket ban is subject to only a handful of

narrow exceptions for federal and state law enforcement officers, registered business

security guards, and active military duty personnel. See id. §265.01-e(3).

      The CCIA took effect in September 2022, and New York officials have

confirmed their intent to vigorously enforce it. In a statement announcing that she

had signed the CCIA, Governor Hochul—after denouncing Bruen as a “reckless”

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decision that necessitated a “bold” response from New York—warned that

“[i]ndividuals who carry concealed weapons in sensitive locations or in

contravention of the authority of an owner of private property will face criminal

penalties.” Hochul, supra. Similarly, the Acting Superintendent of the New York

State Police, Steven Nigrelli (Appellant here), has warned that state law enforcement

officers will have “zero tolerance” for violations of the CCIA: “If you violate this

law, you will be arrested. Simple as that.” Statement by First Deputy Superintendent

of State Police Steven Nigrelli, Governor Hochul Delivers a Press Conference on

Gun Violence Prevention (Aug. 31, 2022), https://bit.ly/3Yr7Ggp (remarks at

38:01).

      B.     Factual & Procedural Background

      1.     His Tabernacle Family Church is a nondenominational Christian

church founded by Pastor Spencer in 1998. JA72. The Church initially met at a

hotel in Horseheads, New York, but it moved to a small commercial location shortly

thereafter and then to a series of progressively larger buildings. JA71-72. Today,

the Church ministers to more than 1,100 people at three campuses—one in

Horseheads (the main campus); a second in Ithaca; and a third in Mansfield,

Pennsylvania. See JA71-72. Pastor Spencer serves as the Church’s senior pastor,

and he is the President and CEO of the Church’s corporate entity. JA71.




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      Pastor Spencer is a responsible and law-abiding citizen—as the state has

recognized. He owns several firearms, all of which are registered in accordance with

New York law, and since 1996, he has held a New York license to carry a concealed

pistol or revolver. JA72. As the Church’s pastor, Pastor Spencer believes that he

has a moral and a religious duty to take reasonable measures to protect the safety of

his congregation, as the Christian scriptures often refer to a worship leader as a

“shepherd” tasked with caring for and protecting his “flock.” JA74; see Ezekiel

34:1-10; Isaiah 40:11; Matthew 9:36; John 21:15-17; I Peter 5:2-3; Acts 20:28;

Hebrews 13:17. Pastor Spencer thus sincerely believes that providing for the safety

of the Church—the “Body of Christ”—is a religious act for a pastor. JA74; see

Romans 12:5; I Corinthians 12:27; Ephesians 4:15-16; Colossians 1:18. Consistent

with his view of the Christian scriptures, and as an “application” of that view, Pastor

Spencer regularly carried a concealed firearm on the Church’s New York campuses

before the CCIA’s place-of-worship provision went into effect. JA74.

      Other members of the Church’s congregation share Pastor Spencer’s

conviction that the scriptures call on them as members of a single “family” united in

Jesus Christ to love, serve, and protect one another. JA85-88. Thus, before the

CCIA’s enactment, Pastor Spencer—who has the authority to determine which

personal items people may bring onto the Church’s campuses—allowed congregants

to carry concealed firearms at both New York campuses, and he continues to allow



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congregants to carry concealed firearms at the Mansfield campus because that

remains permissible in Pennsylvania (and every other state but New York). JA74-

75. And Pastor Spencer did not restrict the carrying of firearms to congregants

blessed with the “gift” of providing security to the Church; he instead permitted all

licensed congregants to carry firearms on Church premises. JA199-200, 242, 244.

      Pastor Spencer’s concerns for his Church’s safety are not hypothetical. Pastor

Spencer regularly receives threatening mail, and he has received at least two death

threats that necessitated law enforcement involvement. JA76. In one incident, a

neighbor threatened to kill Pastor Spencer and discharged his firearm multiple times

near Pastor Spencer’s home—prompting a responding New York State Police officer

to say that Pastor Spencer “was ‘smart’” to keep a firearm with him. JA77. In

another incident, someone sent Pastor Spencer a Facebook message conveying a

desire that “someone execute[]” Pastor Spencer and his late wife. JA76. The Church

has also experienced several other security threats, including burglary and

vandalism. JA77. And sadly, in recent years, armed assailants have attacked several

other places of worship. See Luis Andres Henao & Deepa Bharath, US Houses of

Worship Increase Security After Shootings, Religion News Service (July 19, 2022),

https://archive.ph/Z4ek3. While those attacks have caused many deaths, places of

worship have succeeded in minimizing the damage through the lawful and prudent




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use of firearms. See Jake Bleiberg & Jamie Stengle, Firearms Instructor Took Out

Gunman at Texas Church Service, AP (Dec. 31, 2019), https://bit.ly/3YWktHT.

        Following the enactment of the CCIA’s place-of-worship provision, however,

Pastor Spencer stopped carrying firearms onto the Church’s New York campuses,

and he expected other congregants to comply with the law. JA74. But for the place-

of-worship provision, Pastor Spencer would carry concealed firearms on the

Church’s New York campuses and permit other licensed congregants to do the same.

JA75.

        2.     In November 2022, Pastor Spencer and the Church filed suit alleging

that the CCIA’s place-of-worship provision violates both the First Amendment’s

Free Exercise and Establishment Clauses and the Second Amendment. JA44-68.

Pastor Spencer and the Church sought declaratory and injunctive relief, as well as

nominal damages. JA67-68. Five days later, Pastor Spencer and the Church filed a

motion for a preliminary injunction, JA69-70, which the district court granted in

December 2022 after holding a lengthy hearing that, at the state’s request, included

extensive testimony from Pastor Spencer, JA8-43, 180-282.

        The district court first concluded that the CCIA’s place-of-worship provision

likely violates the Free Exercise Clause. JA17-27. The court explained that the

provision burdens religious exercise because “Pastor Spencer and Church members

have a religious belief that they, themselves, must protect the flock,” yet they are



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unable to carry firearms for such purposes due to the place-of-worship provision.

JA19-20. The court further concluded that the provision is not “neutral” toward

religion because it “discriminate[s] on its face” against religion and is explicitly

“directed at religious activity.” JA22. Nor is it “generally applicable,” as “[i]t

specifically targets carrying of firearm[s] motivated by religious beliefs while

permitting concealed carry in relation to numerous secular activities”—e.g., in “hair

salons, retail stores, shopping malls, gas stations, office buildings, garages, and

countless other [areas].” JA23-24. The court then concluded that the law cannot

satisfy strict scrutiny, JA262—an issue relegated to a footnote in the state’s briefing,

D.Ct.Dkt.43 at 12 n.5. Even if the state has a compelling interest in preventing

violent crime, the court reasoned, it is doubtful that the place-of-worship provision

will further that interest because it will not “deter[]” “a bad-intentioned armed person

looking to attack worshippers,” and “[t]here is no evident justification for the view

that secular business owners are more qualified than religious leaders to determine

whether to allow armed self-defense on their property.” JA26.

      The court next concluded that the CCIA’s place-of-worship provision likely

violates the Establishment Clause. JA27-30. “Pastor Spencer and members of the

Church’s security team provide armed security to the congregation because they

sincerely believe that God has called them to do so.” JA28. By broadly prohibiting

firearms in places of worship, the court recognized, “the place of worship exclusion



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encroaches on matters ‘closely linked’ with the Church’s right to determine how best

to conduct its own affairs.” JA29. The court then explained that “the Establishment

Clause must be interpreted by ‘reference to historical practices and

understandings,’” and noted that “the State ma[de] no attempt to demonstrate that

the regulation is consistent with this Nation’s historical tradition in this area.” JA29-

30.

      Turning to the Second Amendment, the court concluded that the place-of-

worship provision likely violates it too. JA30-35. As the court explained, Pastor

Spencer and other congregants seek to engage in conduct that the “plain text” of the

Second Amendment covers: “carry[ing] firearms for the purpose of defending

[themselves] and the Church as [they] go[] about … daily life.” JA32. And the court

concluded that “the State fail[ed] to demonstrate that the houses of worship

exclusion is consistent with this Nation’s historical tradition of firearm regulation.”

JA32. The only historical evidence the state could identify, the court observed,

“involv[ed] a small minority of jurisdictions governing a small minority of

population,” which “were passed nearly a century after the Second Amendment’s

ratification in 1791.” JA33-34. As the court thus put it, “[t]he State’s proffered

enactments are far too remote, far too anachronistic, and very much outliers—

insufficient, then, in the search for an American tradition.” JA34.




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      The court next determined that the remaining preliminary-injunction

factors—irreparable harm and the public interest—favored Pastor Spencer and the

Church. JA35-39. The “denial of a constitutional right ordinarily warrants a finding

of irreparable harm,” the court wrote, and “the State does not show that the lawful

carrying of firearms in houses of worship has resulted in an increase in handgun

violence, or that public safety would be impaired if this exclusion is enjoined.”

JA35-38. Although those findings entitled Pastor Spencer and the Church to a

preliminary injunction, the court stayed the injunction pending resolution of the

state’s appeal to this Court, subject to the condition that plaintiffs may “designate

individuals otherwise authorized by law to carry a firearm to do so on church

premises for the purposes of keeping the peace.” JA41-43.

                          SUMMARY OF ARGUMENT

      The CCIA’s place-of-worship provision puts Pastor Spencer and his

congregants to an untenable choice: forgo your First Amendment rights to worship

at the Church or forgo your Second Amendment rights to bear arms for self-defense.

Pastor Spencer and his congregants cannot lawfully exercise both rights at the same

time. Under settled Supreme Court precedent, emanating largely from cases that

New York itself lost, the state has the burden to justify that state-mandated choice

thrice over. As the district court correctly determined, the state cannot do so.




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      The CCIA’s place-of-worship provision violates both the Free Exercise

Clause and the Establishment Clause of the First Amendment.            By explicitly

prohibiting the exercise of a fundamental constitutional right in places of worship

while permitting its exercise on other private property—and by denying to religious

leaders the authority it reserves to other private property owners to permit firearms—

the place-of-worship provision both on its face and in its effect treats comparable

secular activity more favorably than religious exercise, thus discriminating on the

basis of religion. As Roman Catholic Diocese and its progeny made crystal clear,

such a law triggers strict scrutiny, which is fatal here. And the place-of-worship

provision encroaches on church autonomy too by telling places of worship whom

they can admit into their sanctuaries to worship and under what circumstances—

precisely what the Religion Clauses forbid. The state resists those conclusions only

by ignoring Roman Catholic Diocese altogether, failing to meaningfully engage with

other directly on-point Supreme Court precedent, and second-guessing Pastor

Spencer’s sincerely held religious beliefs.

      The CCIA’s place-of-worship provision likewise violates the Second

Amendment. By prohibiting ordinary, law-abiding citizens from carrying arms for

self-defense in places of worship that otherwise would allow them to do so, the

place-of-worship provision severely restricts conduct that is covered by the Second

Amendment’s plain text. As Bruen confirmed, such a law can survive only if the



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state can demonstrate that it is consistent with historical tradition, and the state

remains unable to make that showing. As in the district court, the only historical

evidence the state has identified is a handful of outlier late-nineteenth century laws

assembled by an “expert” who has publicly renounced Bruen. The state cannot paper

over that deficiency with its collection of Bruen-defying arguments, such as its

remarkable claim that it bears no burden to produce historical evidence at all simply

because it has intoned the words “sensitive place.”

      Because Pastor Spencer and the Church are all but guaranteed to succeed on

the merits of their constitutional claims, the district court acted well within its broad

discretion by finding the remaining preliminary-injunction factors met. After all,

constitutional injury is always irreparable, and remedying it is always in the public

interest. The state does not disagree with those propositions; it simply denies that

there is any constitutional injury. Because that position is triply incorrect, this Court

should affirm.

                             STANDARD OF REVIEW

      “The district court has wide discretion in determining whether to grant a

preliminary injunction, and this Court reviews the district court’s determination only

for abuse of discretion.” Moore v. Consol. Edison Co. of N.Y., 409 F.3d 506, 511

(2d Cir. 2005).




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                                   ARGUMENT

      When the government is the opposing party, a preliminary injunction is

appropriate when plaintiffs establish that their “claims are likely to prevail, that

denying them relief would lead to irreparable injury, and that granting relief would

not harm the public interest.” Roman Catholic Diocese, 141 S.Ct. at 66; see Nken v.

Holder, 556 U.S. 418, 435 (2009). When First and Second Amendment rights are

at stake, “the likelihood of success on the merits is the dominant, if not the

dispositive, factor.” Agudath Israel of Am. v. Cuomo, 983 F.3d 620, 637 (2d Cir.

2020); see Ezell v. City of Chicago, 651 F.3d 684, 699 (7th Cir. 2011). Here, the

district court correctly concluded that Pastor Spencer and the Church are likely to

succeed on the merits of all three of their constitutional claims—and that the

remaining factors are satisfied as a matter of course.

I.    The District Court Correctly Concluded That Pastor Spencer And The
      Church Are Likely To Succeed On The Merits Of Their Claims.

      A.     The Place-of-Worship Provision Violates the Free Exercise Clause
             Because It Singles Out Religious Worship for Burdens That It Does
             Not Impose on Secular Activities.

      The Free Exercise Clause “protect[s] the ability of those who hold religious

beliefs of all kinds to live out their faiths in daily life through ‘the performance of

(or abstention from) physical acts.’” Kennedy v. Bremerton Sch. Dist., 142 S.Ct.

2407, 2421 (2022). Although there are “various ways” laws can burden religious

exercise, id., religious exercise is plainly burdened when people are “coerced by the


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Government’s action into violating their religious beliefs,” Lyng v. Nw. Indian

Cemetery Protective Ass’n, 485 U.S. 439, 449 (1988); see Kennedy, 142 S.Ct. at

2422; Roman Catholic Diocese, 141 S.Ct. at 65-66, or when “governmental action

penalize[s] religious activity by denying any [religious] person an equal share of the

rights, benefits, and privileges enjoyed by other citizens,” Lyng, 485 U.S. at 449; see

Carson v. Makin, 142 S.Ct. 1987, 1996-97 (2022).

      To be sure, the Supreme Court has held that the government may burden

religious exercise pursuant to a neutral and generally applicable law.              See

Employment Div. v. Smith, 494 U.S. 872, 879 (1990). “A law burdening religious

conduct that is not both neutral and generally applicable, however, is subject to strict

scrutiny,” Cent. Rabbinical Cong. of U.S. & Canada v. N.Y. City Dep’t of Health &

Mental Hygiene, 763 F.3d 183, 193 (2d Cir. 2014), under which the government

must show that the law furthers “interests of the highest order” by means “narrowly

tailored in pursuit of those interests,” Lukumi, 508 U.S. at 546. “That standard is not

watered down; it really means what it says.” Tandon v. Newsom, 141 S.Ct. 1294,

1298 (2021) (per curiam) (quotation marks omitted). Thus, when strict scrutiny

applies, a law “rare[ly]” survives. Carson, 142 S.Ct. at 1997. Applying these

principles, the district court correctly concluded that the CCIA’s place-of-worship

provision burdens religious exercise, is neither neutral nor generally applicable, and

flunks strict scrutiny. JA17-27.



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      1.     The CCIA’s place-of-worship provision burdens free-exercise rights in

at least two ways. First, Pastor Spencer sincerely believes that he has a religious

duty to protect his congregants—his flock—that God has entrusted to his charge.

JA74. Before the state enacted the place-of-worship provision, Pastor Spencer

consistently acted in accordance with that belief, regularly carrying a firearm on the

Church’s New York campuses. JA74. Pastor Spencer and his congregation likewise

share a conviction that the scriptures call on all members to use their individual

“gifts” and talents to love, serve, and protect one another as members of a single

family united in Jesus Christ. JA194, 242, 244. For those Church members

proficient in handling firearms and legally permitted to possess and carry them, that

may mean volunteering to attend Church armed and prepared to protect fellow

congregants. JA72, 74-75, 87, 201, 244. Once again, Pastor Spencer and others in

the Church acted consistent with that belief previously. JA72, 74, 86-87.

      Because of the place-of-worship provision, however, it is now a crime—

indeed, a Class E felony punishable by up to four years in prison—for Pastor Spencer

and members of his congregation to carry a firearm in “any place of worship or

religious observation,” including the Church.      N.Y. Penal Law §§70.00(2)(e),

265.01-e(2)(c). The state thus coerces Pastor Spencer and other congregants to cease

doing something that they believe God asks of them. That is a textbook burden on

free-exercise rights. See Kennedy, 142 S.Ct. at 2422 (high school football coach’s



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free-exercise rights burdened when school “disciplined” him for “praying quietly”

in accordance with his “sincerely” held beliefs); cf. Trinity Lutheran Church of

Columbia, Inc. v. Comer, 137 S.Ct. 2012, 2022 (2017) (finding free-exercise burden

even where state “ha[d] not criminalized” religious exercise).

      Moreover, even assuming (contrary to fact) that Pastor Spencer and other

congregants did not hold those sincere religious beliefs, the burden on free-exercise

rights would remain glaring.        The state has declared that exercising Second

Amendment rights is impermissible for those who choose to gather in a place of

worship but permissible for those who choose to gather in a litany of secular places.

The place-of-worship provision thus is obviously a “law[] that impose[s] special

disabilities on the basis of religious status.” Espinoza v. Mont. Dep’t of Revenue,

140 S.Ct. 2246, 2254 (2020). Indeed, if the Supreme Court thought it “too late in

the day” 60 years ago “to doubt that the liberties of religion and expression may be

infringed by the denial of or placing of conditions upon a benefit or privilege,”

Sherbert v. Verner, 374 U.S. 398, 404 (1963), it is surely too late to doubt that First

Amendment rights are infringed when the state conditions their exercise on the

relinquishment of other constitutional rights.       That Pastor Spencer and his

congregants wish to carry firearms while they engage in constitutionally protected

worship thus is itself enough to demonstrate that prohibiting them from doing so

burdens their religious exercise.



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      The state’s efforts to resist those conclusions fall flat. The state first contends

that its law does not prevent Pastor Spencer “from discharging any perceived

religious obligation to protect congregants” because not “every” congregant believes

that it is “religiously necessary” to carry firearms at the Church. NY.Br.20. That

effort to second-guess Pastor Spencer’s beliefs is misguided on multiple levels.

Even setting aside the bedrock principle that “the guarantee of free exercise is not

limited to beliefs which are shared by all of the members of a religious sect,” Thomas

v. Rev. Bd. of Indiana Emp. Sec. Div., 450 U.S. 707, 715-16 (1981), there is no

inconsistency here.    As Pastor Spencer explained, and the state ignores, “the

scripture calls us the household of faith,” and “everybody has a different

responsibility” in that household (i.e., the Church). JA195-96 (emphasis added).

Pastor Spencer and certain congregants believe that their religious responsibilities

include protecting the flock with firearms. See JA74, 87. The state “does not

question the sincerity of this belief,” NY.Br.19-20, and the CCIA’s place-of-worship

provision unquestionably burdens conduct motivated by it.

      The state faults Pastor Spencer for not “hiring outside security.” NY.Br.21.

But apart from the insuperable problem of paying “outside security” when the

Church is currently “$38,008 in arrears”—another fact the state ignores—hiring

outside security is itself inconsistent with Pastor Spencer’s beliefs. As he explained,

“[t]here’s something in the Bible called a hireling”—i.e., a “hired shepherd”—and



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Pastor Spencer believes that such hirelings “don’t have the same care and concern

and love” for his congregants because they lack a “spiritual calling.” JA243. Once

again, it is not for the state to second-guess that belief.

      Finally, the state asserts that the Church could resolve its state-created

problem by trying to squeeze members of the Church’s security team into the CCIA’s

“exception” for “security guards.” NY.Br.21-22. Wrong again. A law that allows

the Church to authorize its congregants to carry firearms only if they can navigate a

lengthy process to obtain state approval to work as “security guards”—a designation

that would require the Church to first formally “employ” its security volunteers, who

must then receive a “special armed registration card” from the state that would

authorize them to provide security “during their work hours,” N.Y. Penal Law

§265.01-e(3)(e); see N.Y. Gen. Bus. Law §89-e et seq. (enumerating requirements

for “security guards”)—“effectively penalizes the free exercise of religion,” Carson,

142 S.Ct. at 1997 (quotation marks omitted), as the CCIA authorizes owners of

myriad secular establishments to provide security without jumping through those

hoops. Contrary to the state’s blithe suggestion, such a religiously discriminatory

policy is no mere “inconvenience” to which the Constitution is indifferent; such

discrimination is “odious to our Constitution.” Espinoza, 140 S.Ct. at 2262-63.

      2.     The CCIA’s burdensome place-of-worship provision just as surely

triggers strict scrutiny. Indeed, the provision triggers strict scrutiny for the same



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reason New York’s place-of-worship occupancy restrictions in Roman Catholic

Diocese did: It imposes on places of worship restrictions that it does not impose on

places where comparable secular activities occur. That is plain on the face of the

law. By its terms, the place-of-worship provision prohibits carrying firearms “in or

upon a sensitive location,” which it explicitly defines to include “any place of

worship or religious observation.”       N.Y. Penal Law §265.01-e(1), (2)(c).

Conversely, the law explicitly states that countless other “private property” owners

remain free to authorize visitors to carry a firearm on their premises. See id.

§265.01-d(1). Proprietors of shopping malls, office buildings, coffee shops, retail

stores, gas stations, hair salons, garages, and countless other private locations

hosting secular activities thus remain free to do what a place of worship may not:

decide for themselves whether to permit the otherwise-lawful carrying of firearms

on their property. See Roman Catholic Diocese, 141 S.Ct. at 66-67; Tandon, 141

S.Ct. at 1296-97 (treating such establishments as appropriate comparators for places

of worship); S. Bay United Pentecostal Church v. Newsom, 141 S.Ct. 716, 719

(2021) (statement of Gorsuch, J.) (same). Thus, for instance, a New Yorker who

hosts a crowd of friends for a March Madness viewing party may carry a firearm and

authorize his guests to do the same. But a pastor who invites a crowd of congregants

to watch the same tournament in the church recreational room to build community

fellowship may not. JA265 (state confirming that place-of-worship provision is “not



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limited to the sanctuary,” but rather covers “anterooms, offices, et cetera”). The only

way to avoid that disability is for the church to “divorce itself from any religious

control or affiliation”—i.e., to choose between religious exercise and armed self-

defense. Espinoza, 140 S.Ct. at 2256.

      The state nevertheless insists that the CCIA’s place-of-worship provision is

neutral and generally applicable, but each of its arguments—all of which pretend

Roman Catholic Diocese does not exist, and some of which the state never asserted

below, see D.Ct.Dkt.43 at 10-12—is unavailing. At the outset, the state ignores the

obvious: The CCIA is not facially neutral. That alone differentiates this case from

nearly all the cases the state cites, as the state repeatedly relies on cases that involved

the application of facially neutral laws to religious activity, not laws that single out

religion for disfavored treatment on their face. See NY.Br.26-27. Indeed, the state’s

entire argument seems to misunderstand the “neutral” component of Smith, which

focuses not on whether a law was the product of “religious animus,” NY.Br.24-25,

but on whether a law is neutral toward religion on its face, see Smith, 494 U.S. 877-

78.

      It is therefore beside the point whether the state’s “rationale” for designating

places of worship “sensitive places” was “decidedly secular.” NY.Br.25. To be sure,

the reasoning behind a law, or “statements made in connection” its enactment, can

certainly condemn even a facially neutral law. Roman Catholic Diocese, 141 S.Ct.



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at 66; see Lukumi, 508 U.S. at 533-34. But a court can “put those comments aside”

when (as here) a law on its face “single[s] out houses of worship for especially harsh

treatment.” Roman Catholic Diocese, 141 S.Ct. at 66. After all, “[t]he constitutional

benchmark is ‘government neutrality,’ not ‘governmental avoidance of bigotry.”

Roberts v. Neace, 958 F.3d 409, 415 (6th Cir. 2020) (per curiam). 1

       That alone suffices to defeat the state’s argument that the place-of-worship

provision is neutral and generally applicable simply because the CCIA prohibits

firearms not “only” in places of worship, but also in some secular places, such as

“bars” and “casinos.” NY.Br.24; see also NY.Br.30. But the state’s argument would

not help it even if the CCIA were facially neutral, as the Supreme Court has now

made emphatically clear—twice—that even facially neutral laws “are not neutral

and generally applicable, and therefore trigger strict scrutiny under the Free Exercise

Clause, whenever they treat any comparable activity more favorably than religious

exercise.” Tandon, 141 S.Ct. at 1296 (citing Roman Catholic Diocese, 141 S.Ct. at

66-67). It is therefore “no answer” that a state “treats some comparable secular

businesses or other activities as poorly as or even less favorably than” places of



   1
     The state’s argument that its law is “facially neutral” because carrying firearms
“rarely, if ever, constitutes a specifically religious practice,” NY.Br.29, is even more
confused. The law in Lukumi was invalid even though it was facially neutral because
it was designed to single out religious exercise. See 508 U.S. at 533-34. That hardly
means that any law that does not target “a specifically religious practice” must be
“facially neutral.”


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worship. Id. (citing Roman Catholic Diocese, 141 S.Ct. at 73 (Kavanaugh, J.,

concurring)). The analysis must focus on what a law treats better, not what it treats

worse.

       The relevant question then, is whether the places the state has not designated

“sensitive locations” are “comparable” to places of worship when “judged against

the asserted government interest that justifies the regulation,” as “[c]omparability is

concerned with the risks various activities pose.” Id. The state offers three theories

as to why “houses of worship” are among those places that “pose[] unique risks of

gun-related injuries and deaths.” NY.Br.25. But none differentiates places of

worship from the many places that are left off the list.

       To start with the rationale it actually offered below, the state argues that places

of worship and “other sensitive locations” “pose[] unique risks of gun-related

injuries and deaths” because they are “prone to crowding.” NY.Br.25, 27-28. But

places of worship, “bars, casinos, amusement parks, theaters, and banquet halls” are

hardly alone in being “prone to crowding.”           NY.Br.28.    That aptly describes

numerous secular establishments that remain free to choose whether to permit

firearms on their property—e.g., shopping malls, which unfortunately have proven

vulnerable to gun violence. 2 The CCIA thus is indisputably “underinclusive” with


   2
   See, e.g., Guilderland Police Make Arrests in Crossgates Mall Shooting,
WRGB (May 25, 2022), https://bit.ly/3HQ3CzB; Roosevelt Field Nordstrom Locked


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regard to the state’s asserted interest in protecting “uniquely vulnerable” locations,

for it leaves out innumerable places that “endanger[]” that interest “in a similar or

greater degree.” Lukumi, 508 U.S. at 543.

      The state’s remaining two justifications suffer from the same problem. The

state argues that places of worship are sensitive because they “often

contain … children.” NY.Br.25. Setting aside the problem that the state made no

such argument below, see D.Ct.Dkt.43 at 11 (asserting only that sensitive places

qualify as such because they are “often busy, crowded, and dense locations where

individuals are often seated or moving slowly”); JA23, it does not explain its

seeming assumption that children do not frequent malls, retail stores, and the many

other forms of private property not designated “sensitive locations.”

      Finally, the state posits that places of worship “are sensitive because, like

court-houses and polling places, they host other constitutionally protected activity

that may be chilled by the presence of firearms.” NY.Br.25. Setting aside whether




Down After Shots Fired Into Store, WABC (Apr. 7, 2022), https://7ny.tv/3JXNVsJ;
Myles Miller, Jonathan Dienst, & Marc Santia, Three Teens Charged in Connection
With Kings Plaza Mall Shooting That Left 2 Hurt, NBC N.Y. (Feb. 2, 2022),
https://bit.ly/3JWzg0Z; Robert Pozarycki, Pair Sought for Queens Shopping Mall
Shooting That Left Three Injured, AMNY (Dec. 19, 2021), https://bit.ly/3XAXbXb;
Black Friday Shooting Shutters New York Mall; 1 Injured, NBC N.Y. (Nov. 30,
2019), https://bit.ly/3YjBCLD; Richard Harbus, Stephanie Pagonus, & Emily Saul,
2 Injured in Shooting in Upstate New York Mall, N.Y. Post (Nov. 26, 2017),
https://bit.ly/3jNEr8W.


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the state has a legitimate interest (or an interest consistent with the Establishment

Clause) in suppressing the exercise of one constitutional right in favor of

encouraging the exercise of another, again, places of worship are hardly unique in

that regard. Free speech regularly occurs at shopping malls, coffee shops, office

buildings, and hair salons, cf. PruneYard Shopping Ctr. v. Robins, 447 U.S. 74, 77-

78 (1980), and many people routinely “live out their faiths in daily life,’” Kennedy,

142 S.Ct. at 2421.

      None of that is to suggest that “a law must apply to all people, everywhere, at

all times, to be ‘generally applicable.’” NY.Br.28-29 (quoting Kane v. DeBlasio, 19

F.4th 152, 166 (2d Cir. 2021)). But if a state wants to avail itself of the protections

of neutral and generally applicable laws, then it must regulate in a way that actually

maps onto its asserted interests in a neutral and generally applicable way. A facially

neutral law that regulates all Department of Education employees and contractors in

service of protecting students endeavors to respect that principle. The same cannot

be said of a law that explicitly singles out places of worship on the theory that they

are “prone to crowding,” frequented by children, and host constitutionally protected

activity, yet leaves unregulated all manner of places where children are welcome and

people gather to speak and pray.

      3.     The place-of-worship provision therefore triggers strict scrutiny, and it

is not one of the “rare” laws that can clear that high bar. Carson, 142 S.Ct. at 1997.



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Although the New York legislature—in its haste to countermand Bruen—never

mentioned what compelling government interest the CCIA (let alone its place-of-

worship provision) serves, but see Brown v. Entm’t Merchants Ass’n, 564 U.S. 786,

799 (2011) (“The State must specifically identify an ‘actual problem’ in need of

solving[.]”), its chief proponents appeared animated by the state’s general interest in

preventing the commission of violent crimes with firearms, see p.8, supra. The state

picks up that mantle, explaining that it “has a compelling interest in protecting the

public against gun violence.” NY.Br.32.

      Of course, no one doubts that the state has a compelling interest in preventing

violent crime, and—putting aside church autonomy and Second Amendment

concerns—perhaps an interest at that level of generality might suffice to sustain a

neutral and generally applicable law. But when, as here, a law is not neutral and

generally applicable, the state must identify a compelling interest in “singl[ing] out

houses of worship”—and in particular, the Church—“for especially harsh

treatment.”   Roman Catholic Diocese, 141 S.Ct. at 66; see Fulton v. City of

Philadelphia, 141 S.Ct. 1868, 1881 (2021) (“The question … is not whether the City

has a compelling interest in enforcing its non-discrimination policies generally, but

whether it has such an interest in denying an exception to CSS.”). Yet the state has

“offer[ed] no compelling reason why it has a particular interest” in preventing the

Church from deciding for itself whether congregants may bear arms on its property



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“while making [that option] available to” secular establishments. Fulton, 141 S.Ct.

at 1882. That oversight alone dooms the state’s attempt to satisfy strict scrutiny.

      In all events, even assuming the state’s undifferentiated interest in combatting

gun violence qualifies as compelling in this context, flatly prohibiting firearms in

places of worship is not a remotely narrowly tailored means of accomplishing it.

The state makes no effort to demonstrate that people who frequent places of worship

are more likely to misuse firearms, so presumably its concern is that places of

worship are more likely to be targets of criminals bent on using firearms to commit

acts of violence. But any remotely tailored effort to address that interest would at

the very least have to couple the decision to disarm places of worship with an offer

to supply them with some alternative means of protection provided by the state.

Otherwise, the state is depriving the very people it has deemed most vulnerable to

gun violence of the means to defend themselves against it. That is not even a rational

mode of regulating, let alone a narrowly tailored one. Yet the state leaves disarmed

churches with no means to defend their congregants save hiring state-approved

private security guards at their own costs.

      Moreover, “it is hard to see how” the state’s blanket ban “can be regarded as

‘narrowly tailored’” when it is “far more restrictive than any [similar] regulations

that have previously come before the Court, [and] much tighter than those adopted

by many other jurisdictions.”     Roman Catholic Diocese, 141 S.Ct. at 67; cf.



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McCullen v. Coakley, 573 U.S. 464, 494 (2014) (similar); Holt v. Hobbs, 574 U.S.

352, 368-69 (2015) (similar). After all, armed violence, both generally and targeting

places of worship, is hardly confined to New York. Yet every other state in the

Nation plus the District of Columbia has found means of addressing that problem

that are more protective of First (and Second) Amendment rights than categorically

disarming places of worship. In fact, several states have codified the right of

churches to decide for themselves who may carry firearms on their premises. See,

e.g., Ark. Code §5-73-306(15)(B); La. Code. §40:1379.3(N)(8); Mich. Comp. Laws

§28.425o(1)(e); Mo. Stat. §571.107(1)(14); Neb. Rev. Stat. §69-2441(1)(c); N.D.

Code §62.1-02-05(2)(m); Ohio Code §2923.126(B)(6); S.C. Code §23-31-

215(M)(8); Utah Code §76-10-530. And other states have recently contemplated

similar changes. See Reis Thebault, Too Small to Hire Guards, Too Worried to Go

Gun-Free, Community Churches Are Now Arming Themselves, Wash. Post (Feb. 14,

2020), https://archive.ph/U5yjb.

      Indeed, New York itself has taken that approach when it comes to other

private property, allowing most property owners to decide for themselves whether

to permit the otherwise-lawful carrying of firearms on their property. If the owners

of shopping malls, office buildings, coffee shops, retail stores, gas stations, hair

salons, garages, and an untold array of other private property owners are all

trustworthy enough to decide whether they are better or worse off permitting patrons



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with concealed-carry licenses to carry firearms on their property, then it is difficult

to understand why the same is not true for those who lead places of worship. That

much more calibrated regime shows that “there are many other less restrictive rules

that could be adopted to” address the state’s asserted public-safety interests. Roman

Catholic Diocese, 141 S.Ct. at 67; see Tandon, 141 S.Ct. at 1297 (“Where the

government permits other activities to proceed with precautions, it must show that

the religious exercise at issue is more dangerous than those activities even when the

same precautions are applied.”). Simply put, “[t]here is no evident justification for

the view that secular business owners are more qualified than religious leaders to

determine whether to allow armed self-defense on their property.” JA26.

      The state’s tailoring arguments fare no better when its law is assessed against

its professed justifications for deeming places of worship more sensitive than other

locations. The state offers no explanation, for instance, for why it must ban firearms

on all property that comprises a “place of worship” at all times, without regard to

who is there or how “crowded” a location it is. Under the state’s law, Pastor Spencer

could not even carry a firearm when working alone in his office on a weeknight,

with few if any visitors on campus. And the place-of-worship provision is equally

overbroad as measured by the state’s late-breaking interest in protecting children, as

it imposes a blanket ban covering all property where “worship or religious exercise”




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occurs—including “anterooms, offices, et cetera,” JA265—without regard to

whether any children are present.

      The state’s contrary arguments miss the mark.          Unable to identify any

evidence to support the extraordinary view that “carrying firearms in places of

worship” is categorically “‘more dangerous than’ carrying firearms in the secular

locations not subject to a prohibition,” the state asks this Court to “defer” to its

“‘predictive judgment.’” NY.Br.34. But whatever role “predictive judgments” may

play in the intermediate-scrutiny context from which the state lifts that language, see

NY.Br.34 (citing N.Y. State Rifle & Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242, 261

(2d Cir. 2015)), that argument is misplaced here, as the state’s “burden is much

higher” in the strict-scrutiny context, Brown, 564 U.S. at 799-800. “Where the

government permits other activities to proceed with precautions, it must show that

the religious exercise at issue is more dangerous than those activities even when the

same precautions are applied”; it “cannot” simply “assume the worst when people

go to worship but assume the best when people go” elsewhere. Tandon, 141 S.Ct.

at 1297 (emphasis added).

      Yet far from actually showing its “predictive judgments” are likely to be true,

the state itself concedes (with considerable understatement) that whether the

provision will actually protect innocent churchgoers from a “bad-intentioned armed

person” is “far from certain.” NY.Br.35. That is a damning (but unavoidable)



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concession in the strict-scrutiny context, where the state’s restriction “must be

actually necessary to the solution.” Brown, 564 U.S. at 799. And while the state

posits that the provision will reduce “other types of intentional and inadvertent gun

injuries and deaths,” NY.Br.35 (emphasis altered), it offers no evidence that such

injuries and deaths occur more frequently in places of worship as compared to the

numerous other secular establishments not included on its sensitive-place list. “The

consequence is that its regulation is wildly underinclusive when judged against its

asserted justification, which … is alone enough to defeat it.” Brown, 564 U.S. at

802; see Espinoza, 140 S.Ct. at 2261 (“A law does not advance ‘an interest of the

highest order when it leaves appreciable damage to that supposedly vital interest

unprohibited.’”).

      Relying on an amicus brief from another case, the state contends that

“permit[ting] the leadership of each place of worship to decide for themselves

whether and under what circumstances firearms will be permitted … does not

achieve the State’s interests as effectively.” NY.Br.33. According to that amicus

brief, “many clerical leaders have no desire to jeopardize their safety and undermine

their relationships with congregants by attempting to eject persons carrying

firearms.” NY.Br.33. But protecting the relationship between clerical leaders and

their congregants is not an interest the state itself has ever before asserted in defense

of its law—and understandably so, as that would make the Establishment Clause



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problems all the more acute. See Part I.B, infra. Nor does the state explain why

secular establishments can adequately navigate these purported problems while

places of worship cannot. The state also posits that “criminal trespass remedies are

uncertain under New York law and would provide a less effective deterrent than

designating places of worship a sensitive location.” NY.Br.33. But if the state

honestly believes that its “uncertain” criminal-trespass laws are an obstacle, it should

enact more “certain” ones. After all, the state has demonstrated that it can act with

impressive speed when it puts its mind to it.

      The state protests that “there is no way … to accommodate those who wish to

carry firearms for religious reasons without rendering the entire sensitive-place

statute unworkable.” NY.Br.33-34. If it “were forced to allow anyone to carry a

firearm in a sensitive location—place of worship or otherwise—when they

articulated a religious motive for doing so,” the state complains, “it would defeat the

purpose behind recognizing locations as sensitive.” NY.Br.34. But Pastor Spencer

and the Church’s congregants are not claiming a First Amendment right to carry a

firearm in (for example) “zoos.” N.Y. Penal Law §265.01-e(2)(d). And if any other

plaintiff ever asserted such a theory, presumably a court would quickly dismiss it

because the zoo provision (like every other sensitive-place provision that does not

target places of worship on its face) is neutral and generally applicable toward

religion.



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           The state’s insistence that it has “no viable alternative,” NY.Br.36, is

particularly hard to take seriously, moreover, when the legislature is actively

considering an alternative that is at least less restrictive than the current place-of-

worship provision—i.e., “amend[ing] the place-of-worship provision to create an

additional exception for ‘persons responsible for security at such places of worship’

even if they are not ‘registered security guards.’” NY.Br.21 n.4. While that proposal

is still not the “least restrictive” alternative, Thomas, 450 U.S. at 718 (emphasis

added), its very existence gives the lie to the state’s claim that its current approach

is.       Cf. Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 728-32 (2014)

(considering less restrictive means while reserving judgment on whether they were

permissible); McCutcheon v. Fed. Election Comm’n, 572 U.S. 185, 221-23 (2014)

(plurality op.) (same). 3 The district court thus correctly concluded that plaintiffs are

likely to succeed on their free-exercise claims.

           B.     The Place-of-Worship Provision Encroaches on Church Autonomy
                  in Violation of the Free Exercise and Establishment Clauses.

           1.     The CCIA’s place-of-worship restriction also violates the Free Exercise

and Establishment Clauses by encroaching on a place of worship’s “independence


     The state suggests that, if this proposal is enacted, plaintiffs’ First Amendment
      3

claims “will be rendered academic.” NY.Br.21 n.4. Not so. Tinkering with a
security-guard exception that secular establishments are free to ignore does not
eliminate the religious discrimination, and the state still envisions a role for itself in
church governance. Moreover, the state forgets that plaintiffs have sought damages.
JA68; Uzuegbunam v. Preczewski, 141 S.Ct. 792 (2021).


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in matters of faith and doctrine and in closely linked matters of internal government.”

Our Lady of Guadalupe, 140 S.Ct. at 2061. This “broad” “principle of church

autonomy,” id., is so firmly rooted in American traditions that many state courts

recognized it—whether as a matter of state common law or of the religion guarantees

under their own constitutions—long before the incorporation of the Establishment

Clause against the states in Everson v. Board of Education, 330 U.S. 1 (1947). See,

e.g., Shannon v. Frost, 3 B. Mon. 253, 258 (Ky. Ct. App. 1842); Harmon v. Dreher,

Speers Eq. 87, 120 (S.C. Ct. App. Equity 1843); German Reformed Church v.

Commonwealth ex. rel. Seibert, 3 Pa. 282, 291 (Pa. 1846); State ex rel. Watson v.

Farris, 45 Mo. 183, 197-98 (Mo. 1869).

      Over the decades, the Supreme Court has enforced the Religion Clauses’

guarantee of church autonomy to prevent state interference in a multitude of areas,

such as religious doctrine and the line between orthodoxy and heresy 4; rules for

church governance (or “ecclesiology”) 5; appointing, removing, and fixing the




  4
    See Watson v. Jones, 80 U.S. 679, 725-33 (1871); Presbyterian Church in the
U.S. v. Mary Elizabeth Blue Hull Mem’l Presbyterian Church, 393 U.S. 440, 449-51
(1969); Md. & Va. Eldership of Churches of God v. Church of God at Sharpsburg,
Inc., 396 U.S. 367, 368 (1970) (per curiam).
  5
    See Shepard v. Barkley, 247 U.S. 1, 2 (1918) (aff’d mem.); Serbian Eastern
Orthodox Diocese for U.S. & Canada v. Milivojevich, 426 U.S. 696, 708 (1976);
Jones v. Wolf, 443 U.S. 595, 606-09 (1979).


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authority of church leaders 6; and the admission and discipline of church members. 7

While many of these sensitive issues of faith, doctrine, and governance arose in

disputes involving church property 8 or the hiring and firing of church personnel, 9

the principle that the Court has consistently applied across all of them is much more

fundamental. See, e.g., Milivojevich, 426 U.S. at 709 (“[T]his case essentially

involves not a church property dispute, but a religious dispute[.]”). At bottom, it is

for the religious institution to decide what is necessary for the propagation and

protection of the faith. A law that forbade the singing of hymns, or required churches

to conduct all services in Latin, or mandated the pre-approval of a minister’s

sermons, or directed that churches celebrate communion with grape juice or not at

all, thus not only would infringe on the free exercise of religion, but would

impermissibly encroach on church autonomy.

        As the district court again correctly recognized, the CCIA’s place-of-worship

provision clearly encroaches on matters “closely linked” with the Church’s right to


  6
    See Gonzalez v. Roman Catholic Archbishop of Manila, 280 U.S. 1, 16 (1929);
Kedroff v. St. Nicholas Cathedral of Russian Orthodox Church in N. Am., 344 U.S.
94, 116 (1952); Kreshik v. Saint Nicholas Cathedral, 363 U.S. 190, 191 (1960) (per
curiam).
  7
      See Bouldin v. Alexander, 82 U.S. 131, 139-40 (1872).
  8
   See Church of God at Sharpsburg, 396 U.S. at 368; Presbyterian Church, 393
U.S. at 445-47; Kreshik, 363 U.S. at 191; Jones, 443 U.S. at 598-99; Milivojevich,
426 U.S. at 709; Watson, 80 U.S. at 734; Kedroff, 344 U.S. at 95-96.
  9
      See Hosanna-Tabor, 565 U.S. 171; Our Lady of Guadalupe, 140 S.Ct. 2049.


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determine how best to conduct its own affairs. Our Lady of Guadalupe, 140 S.Ct.

at 2061; see JA28-29. By its very terms, the place-of-worship provision regulates

religious entities specifically with respect to the places where they conduct

“worship” or “religious observation.”      N.Y. Penal Law §265.01-e(2)(c).        The

provision not only tells places of worship what worshippers may “possess[]” while

in those places, id., but also dictates how they may (and may not) protect worshippers

in their sanctuaries.

      If anything, the intrusion into religious affairs is even more objectionable here

than in the property and employment disputes. When it comes to ejectment actions

and employment disputes, the state is at least acting within an area of general

competence. But the state ordinarily has no power to tell private property owners

whom to admit to their property and under what conditions. See U.S. Const. amend.

IV. That is why every “private property owner”—including a church—ordinarily

has the “right to control who may enter, and whether that invited guest can be

armed.” GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244, 1264 (11th Cir. 2012).

Yet while the state has preserved that right for private property owners conducting

secular activities, it purports to restrict whom and what churches may admit and how

they may protect themselves even while conducting worship in the sanctuary. That

gets things backwards. A church’s right to control activities in its sanctuary stems

not just from the protection of private property, but from “the general principle of



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church autonomy” protected by the Establishment Clause. Our Lady of Guadalupe,

140 S.Ct. at 2061; see Benjamin Boyd, Take Your Guns to Church: The Second

Amendment and Church Autonomy, 8 Liberty U.L. Rev. 653, 687 (2014). For a state

to dictate whether and how a place of worship may protect itself and its worshipers

thus strikes at the core of the Religion Clauses.

      Of course, that is not to say that places of worship are immune from all neutral

and generally applicable restrictions on their own conduct or that of their

congregants. See Our Lady of Guadalupe, 140 S.Ct. at 2060. But there is no

question that protecting congregants is a core “‘matter[] of church government,’”

id.; see Boyd, supra, at 689 (“The Church’s determination of policies on the control

and presence of weapons will unavoidably be a matter of church government and

internal church polity[.]”), and even neutral and generally applicable secular rules

must sometimes give way in that context, see Hosanna-Tabor, 565 U.S. at 190. And

in all events, the CCIA’s place-of-worship is not a neutral and generally applicable

law, as it explicitly denies to places of worship rights that it preserves for other

property owners. See Part I.A, supra. That provision thus can survive church

autonomy constraints, if at all, only if the state can prove that it “accord[s] with

history and faithfully reflect[s] the understanding of the Founding Fathers,”

Kennedy, 142 S.Ct. at 2428 (brackets altered), or at the very least survives strict

scrutiny, see Larson v. Valente, 456 U.S. 228, 246-47 (1982). But “the State ma[d]e



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no attempt to demonstrate that the regulation is consistent with this Nation’s

historical tradition in this area” in its briefing below, JA30, and its attempt to satisfy

strict scrutiny has failed in spectacular fashion, see Part I.A, supra.

      2.      The state’s church autonomy defense is no more persuasive than its free

exercise defense. The state’s lead argument is that the place-of-worship provision is

a purely “secular law” from which places of worship “enjoy no immunity.”

NY.Br.37; see NY.Br.39. But the state does not explain how the place-of-worship

provision could qualify as “secular” when—quite unlike the “recordkeeping

requirements of the Fair Labor Standards Act” or “fire inspections and building and

zoning regulations,” none of which discriminates on religious grounds, Tony &

Susan Alamo Found. v. Sec’y of Lab., 471 U.S. 290, 291, 305-06 (1985)—it

“single[s] out houses of worship for especially harsh treatment,” Roman Catholic

Diocese, 141 S.Ct. at 66. Moreover, the state does not dispute that the church

autonomy doctrine exempts places of worship even from “secular” laws when those

laws intrude into areas that are “essential to the institution’s central mission.”

NY.Br.37.

      The state thus shifts to arguing that “the decision whether to allow firearms in

places of worship” is simply “not a matter of church governance,” as purportedly

confirmed by Pastor Spencer’s own statements. NY.Br.38. That assertion blinks

reality. Far from suggesting that he “treated the carry of firearms as a purely personal



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matter” that “makes no difference” from a religious perspective, NY.Br.38, Pastor

Spencer said well-nigh the opposite, see, e.g., JA74 (“I believe that I have a moral

and religious duty to take reasonable measures to protect the safety of those who

enter the Church. … Consistent with, and as an application of these religious

beliefs, … I carried, and allowed others to carry, concealed firearms at church to

ensure protection of the Church and its worshippers[.]”); JA194-95 (similar). Nor

is Pastor Spencer’s religious belief unique. See Boyd, supra, at 685 (“Pastors …

have a duty to guard, protect and defend the sheep, rather than refusing to defend

them or rendering them defenseless by banning weapons in the Church[.]”).

Ultimately, the state’s insistence that this Court should resolve a debate over how

essential the carrying of firearms into the Church is to the Church’s efforts to protect

and propagate its faith only underscores the intrusion on matters that the Constitution

leaves to the Church. See New York v. Cathedral Acad., 434 U.S. 125, 133 (1977)

(“The prospect of church and state litigating in court about what does or does not

have religious meaning touches the very core of the constitutional guarantee against

religious establishment[.]”).

      The state’s attempt to square its law with Our Lady of Guadalupe also goes

nowhere. According to the state, the Court found the church autonomy doctrine

applicable in Our Lady of Guadalupe only because the “hiring and dismissal” of the

Catholic school teachers in that case “was necessary to make sure that such



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employees’ conduct did not ‘contradict the church’s tenets and lead the congregation

[a]way from the faith,’” whereas the CCIA’s place-of-worship provision purportedly

does not affect “how Spencer’s church communicates its message or orders its

affairs.” NY.Br.40. To the extent that the state is suggesting that churches possess

autonomy only vis-à-vis the hiring and dismissal of church personnel, that position

ignores that the “ministerial exception” is simply an application of the “broad” rule

that the First Amendment “protects the[] autonomy” of a religious institution “with

respect to … the institution’s central mission.” Our Lady of Guadalupe, 140 S.Ct.

at 2060. And to the extent the state is suggesting that the place-of-worship provision

does not affect the Church’s affairs in any way, that argument remains irreconcilable

with Pastor Spencer’s stated beliefs—which, to reiterate, “the State does not

question.” NY.Br.19.

      The state lastly asserts that the place-of-worship is consistent with “unbroken”

“historical” “tradition.” NY.Br.40-41. Even if the Court excuses the state’s failure

to make any such argument below, see D.Ct.Dkt.43 at 12-14, the notion that the

founding generation would have tolerated a law that forced places of worship

concerned for their safety to invite state-registered security guards to monitor their

services does not pass the straight-face test. It is little surprise, then, that the only

historical evidence the state has gathered is a handful of outlier late-nineteenth-

century laws. NY.Br.47-50. How laws not enacted until 1870 “faithfully reflect[t]



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the understanding of the Founding Fathers” regarding the Religion Clauses,

Kennedy, 142 S.Ct. at 2428, the state does not say. Cf. Walz v. Tax Comm’n of City

of N.Y., 397 U.S. 664, 680 (1970) (relying on “more than a century of our history

and uninterrupted practice” before “1885” to resolve Establishment Clause

question). And while the state briefly invokes “colonial laws” cited below that

“mandate[d] firearms in places of worship,” NY.Br.41, those laws pre-date and do

not appear to have survived the ratification of the Constitution, and thus hail from a

time when many colonies maintained established churches. Accordingly, while they

may speak volumes about whether there was a historical tradition of treating

churches as “sensitive places” in which the carrying of firearms was verboten, see

Part I.C, infra, they provide little if any insight on the degree to which government

can interfere with the autonomy of places of worship under the historical traditions

that the Religion Clauses enshrine. The state thus does nothing to undermine the

conclusion that the place-of-worship provision runs afoul of both Religion Clauses.

      C.     The Place-of-Worship Provision Violates the Second Amendment
             by Prohibiting Congregants From Carrying Firearms for Self-
             Defense.

      1.     The CCIA’s place-of-worship restriction also violates the Second

Amendment. In Bruen, the Supreme Court held (and New York agreed) that

“ordinary, law-abiding citizens have a … right to carry handguns publicly for their

self-defense.” 142 S.Ct. at 2122; id. at 2134 (noting that New York “do[es] not



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dispute” that “the plain text of the Second Amendment protects … carrying

handguns publicly for self-defense”). And by carrying firearms “publicly,” Bruen

meant carrying firearms “outside the home.” See id. at 2122 (“We … now hold …

that the Second and Fourteenth Amendments protect an individual’s right to carry a

handgun for self-defense outside the home” (emphasis added)); id. at 2134 (“Nothing

in the Second Amendment’s text draws a home/public distinction with respect to the

right to keep and bear arms.” (emphasis added)).

      When Pastor Spencer and other law-abiding citizens attend the Church

carrying a firearm, they unquestionably “bear Arms” outside the home. U.S. Const.

amend. II.    The CCIA’s ban on carrying firearms in places of worship thus

indisputably prohibits activity that “the Second Amendment’s plain text covers.”

Bruen, 142 S.Ct. at 2126. As a result, “the Constitution presumptively protects that

conduct,” making it the state’s job to “affirmatively prove that its firearms regulation

is part of the historical tradition that delimits the outer bounds of the right to keep

and bear arms.” Id. at 2127. As the district court correctly concluded, the state

comes nowhere close to meeting that burden. JA30-35.

      2.     The state resists that conclusion only by resisting Bruen itself. The state

begins by asserting that, because (in 2022) it legislatively “defined” its list of

“sensitive locations” to include places of worship, carrying firearms in such

locations is ipso facto “presumptively lawful” and “outside ‘the scope of the Second



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Amendment,’” such that Pastor Spencer and the Church must “rebut[] the

presumption” and prove that there is an enduring tradition that contradicts the state’s

approach. NY.Br.43-44. That argument is squarely in the teeth of Bruen. As that

decision explained—at least nine different times—a government regulation that

prohibits carrying firearms outside the home for self-defense falls “outside the scope

of the Second Amendment” only if the state can “demonstrate that the regulation is

consistent with this Nation’s historical tradition of firearm regulation.” Bruen, 141

S.Ct. at 2126; see also id. at 2127, 2130, 2133, 2135, 2138, 2149 n.25, 2150, 2156.

      Far from exempting sensitive-places laws from that rule, the Court used them

as its prime example of how the burden-shifting regime works. New York tried

there, just as it does here, to justify its regulation as a “sensitive places” restriction,

on the theory that “all places of public congregation that are not isolated from law

enforcement” are “sensitive.”       Id. at 2134.     The Court squarely rejected that

argument because the state failed to identify any “historical basis” for its effort “to

effectively declare the island of Manhattan a ‘sensitive place’ simply because it is

crowded and protected generally by the New York City Police Department.” Id.

Bruen thus affirmatively refutes the state’s claim that it can eliminate its burden

“demonstrate that the regulation is consistent with this Nation’s historical tradition

of firearm regulation,” id. at 2126, by simply declaring any locations it chooses to

be “sensitive places.”



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      Shifting gears, the state insists that the historical record does support the

CCIA’s place-of-worship provision. NY.Br.45-60. Relying on the analysis of its

“expert historian” Patrick Charles—whose research is a favorite of Supreme Court

dissents, see Bruen, 142 S.Ct. at 2180-98 (Breyer, J., dissenting); McDonald, 561

U.S. at 914 (2010) (Breyer, J., dissenting); cf. Rogers v. Grewal, 140 S.Ct. 1865,

1870 n.3 (2020) (Thomas, J., dissenting from denial of certiorari) (noting that “other

scholars” had “repudiated” Charles’ analysis), and who recently derided Bruen as

creating a “fugazi Second Amendment” that is “historically ruined and fake,” Patrick

J. Charles, The Fugazi Second Amendment 3 (forthcoming Clev. St. L. Rev.)—the

state makes the sweeping claim that “all of the available history” confirms the

“governments’ power to restrict the ability to bear arms in places of worship.”

NY.Br.54. That claim is wrong from start to finish.

      At the outset, although the state purports to conduct a holistic historical

analysis, it does no such thing. While the state briefly alludes to the legacy of our

“English ancestors” and the 1328 Statute of Northampton, NY.Br.54, it fails to

mention that the leading English case involving that statute—Sir John Knight’s

Case, 3 Mod. 117, 87 Eng. Rep. 75 (K.B. 1686)—specifically established that

carrying firearms in church is not a crime unless done “with evil intent or malice,”

Bruen, 141 S.Ct. at 2141. Nor does the state mention that the misguided prosecution

of Knight helped prompt the English Parliament to strengthen the right to arms by



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including in the 1689 Bill of Rights “the ‘predecessor to our Second Amendment.’”

Id. at 2141-42. Or that the long history of efforts in England to disarm people based

on religion is part of why the Framers of our Nation’s founding documents made

sure to enshrine a Second Amendment even more protective than the 1689 Bill of

Rights. See Heller, 554 U.S. at 592-94, 606.

      And that is not all. While the state seemingly believes that various “colonial-

era laws” support the constitutionality of the CCIA’s place-of-worship provision,

NY.Br.16-17, 52, those laws required congregants to bring firearms to church, see

JA58-59; Boyd, supra, at 698-99; Kopel & Greenlee, supra, at 233, which is the

exact opposite of the tradition the state must establish. And the state does not and

cannot argue that it has any support from the first several generations following the

Nation’s founding—when the states promptly ratified the Second Amendment and

began providing similar guarantees in their own charters. See Heller, 554 U.S. at

602-03.

      Instead of seriously arguing that English or early American history supports

its cause, the state places all of its chips on a handful of outlier laws enacted years

or even decades after the Civil War. But the state’s “reliance on late-19th-century

laws has several serious flaws even beyond their temporal distance from the

founding.” Bruen, 142 S.Ct. at 2154. The state identifies four former Confederate




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states resisting Reconstruction—Georgia, Texas, Virginia, and Missouri 10—that

enacted place-of-worship prohibitions contemporaneous with other laws aimed at

disarming newly emancipated black Americans. See NY.Br.47-48; Heller, 554 U.S.

at 614 (“Blacks were routinely disarmed by Southern States after the Civil War.”).

That is a dubious place to look for the historical traditions of our Nation—which the

Supreme Court has recognized by giving little credence to similar enactments. See

Bruen, 142 S.Ct. at 1253; cf. McDonald, 561 U.S. at 846-48 (Thomas, J., concurring

in part and concurring in the judgment). But even those laws typically did not

prohibit firearms to the degree that the CCIA’s place-of-worship provision does.

       Texas, for example, permitted carrying by “persons whose duty it is to bear

arms on such occasions in discharge of duties imposed by law.” 1870 Tex. Gen.

Laws 63, ch. 46, §1. Virginia exempted those carrying with “good and sufficient

cause” and others when places of worship constituted their “own premises.” 1877

Va. Acts 305, §21. And in at least one Missouri locality, a defendant had a defense

to prosecution when he “ha[d] been threatened with great bodily harm, or had good

reason to carry” for self-defense. Revised Ordinances of City of Huntsville, Mo. of

1894, §2. To the extent any of these laws ever approached the severity of New

York’s, moreover, states have since walked them back. Virginia’s Attorney General,



  10
     See 1870 Ga. Laws 421; 1870 Tex. Gen. Laws 63, ch. 46, §1; 1877 Va. Acts
305, §21; 1883 Mo. Laws 76.


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for example, has construed that state’s law to permit carrying weapons for self-

protection. See Va. Att’y Gen. Op. No. 11-043, 2011 WL 4429173, at *1 (Apr. 8,

2011). And while Georgia originally appears to have imposed a categorical ban on

carrying in places of worship, see 1870 Ga. Laws 421, that law later evolved to allow

church leaders to decide the issue themselves, see Boyd, supra, at 657-59.

        The state also leans on laws enacted in Arizona in 1889 and Oklahoma in

1891, see NY.Br.48, but they are even less instructive. For one thing, the state

overlooks that both Oklahoma and Arizona remained territories at the time, and each

had “miniscule … populations.” 11 Bruen, 142 S.Ct. at 2154. As the Supreme Court

stated in Bruen when casting aside Oklahoma and Arizona territorial laws enacted

during the same legislative sessions as those the state invokes here, “we will not

stake our interpretation [of the Second Amendment] on a handful of temporary

territorial laws that were enacted nearly a century after the Second Amendment’s

adoption, governed less than 1% of the American population, and also ‘contradic[t]

the overwhelming weight’ of other, more contemporaneous historical evidence.” Id.

at 2154-55.

        The state’s remaining historical evidence does not move the needle. The state

seizes on a handful of “ordinances” enacted in “localities” like “the North Carolina




   11
        The state commits this same error for Utah. See NY.Br.48; JA108.


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religious campgrounds of Stanley Creek and Rock Spring.” NY.Br.48; JA108-09.

But those isolated examples of regulations in isolated areas plainly do not

“demonstrate a broad tradition of States” categorically prohibiting firearms in places

of worship. Bruen, 142 S.Ct. at 2156. The state suggests that “several other

jurisdictions had broader restrictions” on public carry writ large that effectively

“precluded firearms in places of worship.” NY.Br.48. But Bruen just surveyed the

same historical record and rejected New York’s argument that it demonstrates that

“American governments … broadly prohibited the public carry of commonly used

firearms for personal defense.” 142 S.Ct. at 2156. The state’s reliance on five state

court decisions from the late-nineteenth century addressing place-of-worship bans,

see NY.Br.49-50, suffers from a similar deficiency, as they largely embraced a view

of the right to bear arms that Bruen and Heller rejected. Indeed, the state’s favorite

case—English v. State, 35 Tex. 473 (1871), see NY.Br.49, 58—is one whose

“rationale” Bruen invoked only to repudiate it as an “outlier[].” 142 S.Ct. at 2153;

see, e.g., Hill v. State, 53 Ga. 472 (1874) (embracing militia-based view of the right

to bear arms that Heller rejected).

      Thus, in the final tally, all the state has mustered is “a handful of seemingly

spasmodic enactments involving a small minority of jurisdictions governing a small

minority of population”—all of them “passed nearly a century after the Second

Amendment’s ratification in 1791.” JA33-34. The state is thus left insisting that



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Bruen’s history-based test is not a “numbers game,” and that Bruen “imposed no

requirement that historical laws be ‘continu[ing]’ for some undefined period of

time.” NY.Br.51. Bruen itself begs to differ: After asking whether the New York

law at issue reflected “an enduring American tradition of state regulation,” the Court

it concluded that a “handful of late-19th-century” examples falls far short of

establishing such a tradition. 142 S.Ct. at 2138, 2155 (emphases added).

      Implicitly recognizing that history is not on its side when it comes to churches,

the state retreats to a higher level of generality, arguing that the CCIA’s place-of-

worship provision “closely resembles other sensitive locations where firearms have

historically been prohibited.”    NY.Br.54 (emphasis added).       But reasoning by

analogy does not work here, as Bruen sanctioned the “use [of] analogies” only when

it comes to “new and analogous sensitive places.” 142 S.Ct. at 2133 (emphasis

original). To state the obvious, places of worship are nothing new in America. Their

presence long predates the founding of the Republic. And the risk of violent attacks

on places of worship is neither an “unprecedented societal concern[ ]” nor the

product of some “dramatic technological change[].” Id. at 2132. To the contrary, it

is a “general societal problem that has persisted since the 18th century,” id. at 2131,

as evidenced by the fact that most colonies had laws addressing it—laws that looked

nothing like the place-of-worship provision.




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      And the state’s problems run deeper. The state asserts that the CCIA’s place-

of-worship provision is similar to historical precursors because it is designed to

safeguard “other constitutional interests,” like the “exercise of religion.” NY.Br.55.

That is a bewildering argument to make when Pastor Spencer has attested that the

place-of-worship provision impedes the First Amendment rights of himself, his

Church, and his congregation. That argument is also at profound odds with the First

Amendment, as whatever is true of government-run sites like courthouses and

polling places, where the government itself can supply whatever protection it

believes warranted, see NY.Br.55, the First Amendment makes emphatically clear

that it is for places of worship, not the government, to decide what best promotes

their faith. And in all events, the state fails to identify any historical tradition

whatsoever for the notion that it may choose to suppress constitutional rights it

disfavors in service of promoting rights it favors—let alone in favor of promoting

religious exercise. Accordingly, the state’s argument succeeds only in underscoring

that banning firearms in places of worship violates both the First and the Second

Amendment.

II.   The District Court Did Not Abuse Its Discretion By Finding That The
      Remaining Factors All Favor Injunctive Relief.

      Because the CCIA’s place-of-worship provision violates the First and Second

Amendments, the district court acted well within its broad discretion in finding the

remaining preliminary-injunction factors—irreparable harm and the public


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interest—readily satisfied. One the one hand, unless Pastor Spencer and other

congregants leave their firearms at home, they cannot worship. On the other hand,

if Pastor Spencer and other congregants comply with the place-of-worship provision,

they leave themselves vulnerable to threats of violence that even the state has

described as “genuine.” D.Ct.Dkt.43 at 24. It is axiomatic that “[t]he loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.” Roman Catholic Diocese, 141 S.Ct. at 67; see Kane, 19 F.4th at

171 (“We do not gainsay the principle that those who are unable to exercise their

First Amendment rights are irreparably injured per se.”). The same is true of Second

Amendment rights, as the Second Amendment “protects similarly intangible and

unquantifiable interests” that “cannot be compensated by damages.” Ezell, 651 F.3d

at 699. Pastor Spencer and the Church thus satisfy the irreparable-injury factor many

times over.

      Just so with the public-interest factor. Quite obviously, “it is always in the

public interest to prevent the violation of a party’s constitutional rights.” Hobby

Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1147 (10th Cir. 2013), aff’d sub

nom. Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682 (2014). And precisely

because the CCIA’s sensitive-place provision is facially discriminatory and excepts

so many secular activities, there is little reason to think that the public interest

“would be imperiled if” the state had to choose from among those “less restrictive



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measures.” Roman Catholic Diocese, 141 S.Ct. at 68; see Agudath, 983 F.2d at 637

(“No public interest is served by maintaining an unconstitutional policy when

constitutional alternatives are available to achieve the same goal.”).

      In response, the state kicks a cloud of dust. As to irreparable harm, it claims

that Pastor Spencer’s and the Church’s purported “delay” in filing suit and seeking

preliminary injunctive relief “weighs strongly against an injunction.” NY.Br.62. No

such argument occurred to the state below, see D.Ct.Dkt.43 at 23, presumably

because the modest two months it took plaintiffs to connect with pro bono counsel

and prepare legal filings exposing multiple constitutional infirmities with the place-

of-worship provision bears no resemblance to those the state invokes, see Tough

Traveler, Ltd. v. Outbound Prods., 60 F.3d 964, 968 (2d Cir. 1995) (plaintiff delayed

“at least nine months” before filing suit and “some four months longer” before

seeking preliminary injunction); Citibank, N.A. v. Citytrust, 756 F.2d 273, 276 (2d

Cir. 1985) (similar). The state suggests that Pastor Spencer and the Church face no

irreparable harm due to the CCIA’s “security guard” exception. See NY.Br.62-63.

But as already explained, that exception is part of the constitutional problem, not a

solution to it. The state quibbles that, in conducting its irreparable-harm analysis,

the district court briefly quoted a decision that used the phrase “psychic harm.” See

NY.Br.13, 17, 63-64; JA36 (quoting Grace v. District of Columbia, 187 F.Supp.3d

124, 150 (D.D.C. 2016)). But the state omits that this fleeting reference came amidst



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a broader discussion explaining why the violation of constitutional rights inflicts

irreparable harm per se, see JA35-37—a proposition the state does not dispute.

      Nor does the state dispute that Pastor Spencer and the Church satisfy the

public-interest factor if the Court agrees that they are likely to succeed on the merits.

NY.Br.64. The state instead just doubles-down on its “prediction” that places of

worship are uniquely susceptible to gun violence.           NY.Br.65.     But that just

underscores the harm Pastor Spencer and the Church stand to suffer from being

disarmed by the state. As for the notion that “the mere presence of a gun’ creates a

risk of violence,” NY.Br.65; that is neither what the case the state cites says, see

United States v. Smythe, 363 F.3d 127, 129 (2d Cir. 2004) (“[T]he mere presence of

firearms in connection with a drug transaction can increase the risk of violence.”

(emphasis added)), nor the kind of argument that cuts it after Bruen, which declares

the carrying of firearms by law-abiding citizens a constitutional right, not a threat

always and everywhere to public safety. To be sure, the “New York’s elected

leaders” may make some “policy choices” when it comes to regulating the carrying

of firearms. NY.Br.65-66. “But the enshrinement of constitutional rights necessarily

takes certain policy choices off the table.” Heller, 554 U.S. at 636. And the triply

unconstitutional place-of-worship provision is plainly one of them.




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                                CONCLUSION

     The Court should affirm.

                                          Respectfully submitted,

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February 28, 2023

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      I hereby certify that, on February 28, 2023, an electronic copy of the foregoing

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